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14
                                    UNITED STATES DISTRICT COURT
15
                                   NORTHERN DISTRICT OF CALIFORNIA
16
17                                                  Case No. 3:17-cv-06748-WHO
18   DEMETRIC DI-AZ, OWEN DIAZ, and
     LAMAR PATTERSON,                               [PROPOSED] ORDER GRANTING
19                                                  PLAINTIFF’S ADMINISTRATIVE
                     Plaintiffs,
                                                    MOTION TO FILE DOCUMENTS
20                                                  UNDER SEAL IN SUPPORT OF
            v.
21                                                  PLAINTIFF’S MOTIONS IN LIMINE
     TESLA, INC. dba TESLA MOTORS, INC.;            NOS. 1-6
22   CITISTAFF SOLUTIONS, INC.; WEST
     VALLEY STAFFING GROUP;
     CHARTWELL STAFFING SERVICES, INC.;             Date: May 11, 2020
23
     and DOES 1-50, inclusive,                      Time: 10:00 a.m.
24                                                  Courtroom: 2, 17th Floor
            Defendants.                             Judge: Hon. William H. Orrick
25
                                                    Trial Date: June 8, 2020
26
                                                    Complaint filed: October 16, 2017
27
28



                                                1
       [PROPOSED] ORDER GRANTING PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
                           UNDER SEAL ISO PLAINTIFF’S MILs NOS. 1-6
            Case 3:17-cv-06748-WHO Document 188-1 Filed 04/20/20 Page 2 of 3




                                         [PROPOSED] ORDER
 1
 2          Pursuant to Local Rules 7-11 and 79-5, as well as this Court’s Standing Order regarding

 3   administrative motions to seal, Plaintiff Owen Diaz has filed an administrative motion for an order
 4
     sealing the physical copies in the Court’s files of Exhibits 1 through 18 to the Supplemental
 5
     Declaration of Cimone Nunley in Support of Plaintiff’s Motions in Limine Nos. 1-6. According to
 6
 7   the declaration filed by Plaintiff’s counsel, Cimone Nunley, in support of this Motion, Exhibits 1

 8   through 18 should be sealed for the foregoing reasons:
 9    Document                                         Basis for Sealing
10    Exhibit 1: Deposition of Plaintiff Owen          Marked confidential pursuant to Protective
      Diaz, Vol. I                                     Order (Dkt. No. 50).
11    Exhibit 2: TESLA-0000004 to TESLA-               Marked confidential pursuant to Protective
      0000008                                          Order (Dkt. No. 50).
12
      Exhibit 3: TESLA-0000732 to TESLA-               Marked confidential pursuant to Protective
13    0000734                                          Order (Dkt. No. 50).
      Exhibit 4: NS000012 to NS000013                  Marked confidential pursuant to Protective
14                                                     Order (Dkt. No. 50).
15    Exhibit 5: NS000136 to NS000137                  Marked confidential pursuant to Protective
                                                       Order (Dkt. No. 50).
16    Exhibit 6: TESLA-0000125 to TESLA-               Marked confidential pursuant to Protective
      0000130                                          Order (Dkt. No. 50).
17    Exhibit 7: TESLA-0000702 to TESLA-               Marked confidential pursuant to Protective
18    0000703                                          Order (Dkt. No. 50).
      Exhibit 8: TESLA-0000127 to TESLA-               Marked confidential pursuant to Protective
19    0000128                                          Order (Dkt. No. 50).
      Exhibit 9: TESLA-0000664                         Marked confidential pursuant to Protective
20
                                                       Order (Dkt. No. 50).
21    Exhibit 10: TESLA-0000319                        Marked confidential pursuant to Protective
                                                       Order (Dkt. No. 50).
22    Exhibit 11: TESLA-0000320                        Marked confidential pursuant to Protective
23                                                     Order (Dkt. No. 50).
      Exhibit 12: TESLA-0000612                        Marked confidential pursuant to Protective
24                                                     Order (Dkt. No. 50).
      Exhibit 13: TESLA-0000336 to                     Marked confidential pursuant to Protective
25    TESLA0000338                                     Order (Dkt. No. 50).
26    Exhibit 14: TESLA-0000505 to                     Marked confidential pursuant to Protective
      TESLA0000506                                     Order (Dkt. No. 50).
27    Exhibit 15: TESLA-0000557                        Marked confidential pursuant to Protective
                                                       Order (Dkt. No. 50).
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       [PROPOSED] ORDER GRANTING PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
                           UNDER SEAL ISO PLAINTIFF’S MILs NOS. 1-6
            Case 3:17-cv-06748-WHO Document 188-1 Filed 04/20/20 Page 3 of 3




      Exhibit 16: TESLA-0000704 to TESLA-             Marked confidential pursuant to Protective
 1
      0000705                                         Order (Dkt. No. 50).
 2    Exhibit 17: TESLA-0000708 to                    Marked confidential pursuant to Protective
      TESLA0000709                                    Order (Dkt. No. 50).
 3    Exhibit 18: TESLA0000741 to TESLA-              Marked confidential pursuant to Protective
 4    0000743                                         Order (Dkt. No. 50).

 5
            Appearing the requested relief is warranted, this Court orders that:
 6
        1. Plaintiff’s Administrative Motion to File Documents Under Seal in Support of Plaintiff’s
 7
     Motions in Limine Nos. 1-6 is GRANTED.
 8
        2. The physical copies in the Court’s files of Exhibits 1 through 18 to the Supplemental
 9
     Declaration of Cimone Nunley in Support of Plaintiff’s Motions in Limine Nos. 1-6 shall be
10
     SEALED and remain sealed until further order of the Court.
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12
            IT IS SO ORDERED.
13
14   DATED: _____________, 2020                   _________________________________
15                                                The Honorable William Orrick
                                                  United States District Court Judge
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                                                  3
       [PROPOSED] ORDER GRANTING PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
                           UNDER SEAL ISO PLAINTIFF’S MILs NOS. 1-6
